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Exhibit "A"

279550 Khuong Tran (279550) Ocean Springs MS
280050 Uyen Nguyen (280050) Ocean Springs MS
281205 Anh Le (281205) Ocean Springs MS
281253 Hang Nguyen (281253) Bayou La Batre AL
281584 Thien Tran (281584) Gretna LA
281585 Venessa Tran (281585) Biloxi Ms
284386 Kathy Nguyen (284386) Pass Christian MS
288300 Elizabeth Vo (288300) _—_ Biloxi MS
288322 Anh Le (288322) Ocean Springs MS

